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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND            Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION             MDL No. 2570
_________________________________________

This Document Relates Only to the Following Cases:

Estrada, Maribel, 1:21-cv-01553
_________________________________________

     DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR JUDGMENT
       IN PLAINTIFF MARIBEL ESTRADA’S CASE PURSUANT TO CMO-28

        Plaintiff acknowledges that under prior orders of this Court, her claims are barred.1 Dkt.

19745, at 1. Indeed, Plaintiff acknowledges that the Court has rejected the exact argument she

offers in her Response. Id. at 1-2 (“Ms. Estrada sets forth the arguments advanced by Ms.

Sanchez-Hughes in Document 10 as if fully set forth herein.”); see also Dkt. 18667 (rejecting the

argument Plaintiff incorporates into her response). Nevertheless, Plaintiff asks the Court to

reconsider this argument because the Court did not “address the argument that the plain language

of the [express-warranty] exception [to the Texas statute of repose] is satisfied,” instead “relying

on its previous order without reaching the merits.” Dkt. 19745, at 2. The Court should reject

Plaintiff’s attempt to relitigate this issue and should dismiss the entirety of Plaintiff’s case with

prejudice, consistent with its prior orders concerning the Texas statute of repose. See Dkt.

18667; Dkt. 4918; see also Dkt. 14426.




1
 Cook refers to Ms. Estrada as “Plaintiff” due to the singular language used in the structure of the Short-
Form Complaint. Plaintiff’s spouse, Francisco Estrada, is a Co-Plaintiff on a loss-of-consortium claim,
and this Reply seeks dismissal of his derivative claims as well.

                                                    1
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        To the extent any further reply is needed to Plaintiff’s arguments, Cook incorporates by

reference its discussion of Texas law in its prior reply brief addressing the issue. See Dkt. 16177

(Sanchez-Hughes Reply).        In short, Plaintiff’s statutory-interpretation argument is meritless

because “express warranty” is a legal term-of-art that has a precisely defined, statutory meaning

under Texas law. See Tex. Bus. & Com. Code § 2.313. It is thus this established statutory

definition that applies to the statute of repose, not the alternative “common” meaning Plaintiff

proffers. See Tex. Gov’t Code § 311.011; see also Roberts v. Sea-Land Servs., Inc., 566 U.S. 93,

101 (2012). And under Texas law, the statutory meaning of “express warranty” encompasses a

reliance requirement. See PPG Indus., Inc. v. JMB/Houston Ctrs. Partners Ltd., 140 S.W.3d 79,

99 (Tex. 2004). Because Plaintiff has neither pled nor provided evidence that she read and relied

on the Tulip Patient Guide before receiving her filter,2 Plaintiff cannot prove reliance and her

claims should be dismissed, consistent with this Court’s prior orders holding the same. See Dkt.

4918 (dismissing the Apple case as time-barred by the Texas statute of repose because the

plaintiff “fail[ed] to establish the reliance element because she d[id] not claim that she actually

read or relied on the Patient Guide’s language”); see also Dkt. 18667; Dkt. 14426.

        For the foregoing reasons and the reasons set forth in Cook’s opening brief and the

related reply brief, the Court should dismiss Plaintiff’s case with prejudice.




2
  Cook respectfully submits that no fair reading of the Tulip Patient Guide could create a reasonable
inference that Cook “expressly warrant[ed] in writing that the product has a useful safe life of longer than
15 years.” See Dkt. 17593-1, at 6; Tex. Code. Ann. § 16.012(c). Indeed, when read in its entirety, the
Guide makes clear that risks, although rare, do exist and that a patient wishing to remove the filter may
have a limited time to do so.

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                                                 Respectfully submitted,


Dated: September 7, 2021                          /s/ Jessica Benson Cox
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                                                  ApS



                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 7, 2021, a copy of the foregoing COOK

DEFENDANTS’ REPLY BRIEF IN SUPPORT OF ITS MOTION FOR JUDGMENT IN

PLAINTIFF MARIBEL ESTRADA’S CASE PURSUANT TO CMO-28 was filed

electronically, and notice of the filing of this document will be sent to all parties by operation of

the Court’s electronic filing system to CM/ECF participants registered to receive service in this

matter. Parties may access this filing through the Court’s system.



                                                      /s/ Jessica Benson Cox




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